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 1
                     UNITED STATES DISTRICT COURT
 2                        DISTRICT OF NEVADA
                                               -oOo-
 3

 4   UNITED STATES OF AMERICA,                   ) Case No. 2:04-cr-00239-KJD-PAL
                                                 )
 5                       Plaintiff,              ) ORDER TO QUASH ARREST WARRANT
                                                 ) AS TO JAMEL RAMZI
 6            v.                                 )
 7                                               )
     JAMEL RAMZI,                                )
 8                                               )
                         Defendant.              )
 9

10            ORDER TO QUASH ARREST WARRANT AS TO JAMEL RAMZI

11         Based on the foregoing motion of the government, it is ordered that the Arrest

12   Warrant for Defendant JAMEL RAMZI be quashed.
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            Date: 27 Jan, 2015
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15                                                     United States District Judge

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